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                                                                              September 11, 2017
Via ECF
Hon. Lisa Margaret Smith, U.S.M.J.
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601

               Re:     Zavala Artiega v. Griffin Organics, Inc., et al.
                       Case No. 16-cv-6613 (LMS)

Dear Judge Smith:

        We are counsel to Plaintiff. We respectfully submit this request for two-week extension of
the briefing schedule for Plaintiff’s contemplated motion to enforce the settlement entered into by
the parties following class mediation. This is the first request for extension of this deadline.
Defendants have advised that they consent to the proposed extension of the briefing schedule (as
set forth below), if the Court will grant such extension:

       Plaintiff’s Motion (Originally Due By Sept. 15, 2017)
               Proposed Deadline: Sept. 29, 2017

       Defendants’ Opposition (Originally Due By Oct. 13, 2017)
             Proposed Deadline: Oct. 27, 2017

       Plaintiff’s Reply (Originally Due By October 23, 2017)
               Proposed Deadline: November 6, 2017

       We respectfully request this brief, consented extension of time because of our conflicting
commitments. Specifically, I am undergoing a medical procedure this week and consequently will
be unavailable to finalize Plaintiff’s motion papers. My colleagues Mr. Lee and Ms. Seelig are
also unavailable this week, due to personal obligations, as well as appearances and deadlines in
other pending cases that cannot be adjourned.

       We thank the Court for considering this matter.

Respectfully submitted,

/s/ Taimur Alamgir
Taimur Alamgir, Esq.

cc:    All Counsel via ECF
